870 F.2d 655Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ernest RICHARDSON, Plaintiff-Appellant,v.OCONEE COUNTY SHERIFF'S DEPARTMENT, Oconee County, GeorgeDuckworth, Solicitor, State of South Carolina,Defendants-Appellees.
    No. 88-7320.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 17, 1989.Decided March 8, 1989.Rehearing and Rehearing In Banc Denied April 19, 1989.
    
      Ernest Richardson, appellant pro se.
      Larry Conrad Brandt, Jane McCue Johnson, Office of the Attorney General, for appellees.
      Before DONALD RUSSELL, SPROUSE, and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Ernest Richardson appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Richardson v. Oconee County Sheriff's Department, C/A No. 88-272-8 (D.S.C. Oct. 28, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    